                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 THE DEMOCRATIC PARTY OF
 GEORGIA, INC., AND AFG GROUP
 INC,
                  PLAINTIFFS,

        V.

 ROBYN A. CRITTENDEN, IN HER
 OFFICIAL CAPACITY AS
 SECRETARY OF STATE OF THE
 STATE OF GEORGIA; STEPHEN                Civ. Act. No. __________
 DAY, JOHN MANGANO, ALICE
 O’LENICK, BEN SATTERFIELD,
 AND BEAUTY BALDWIN, IN
 THEIR OFFICIAL CAPACITIES AS
 MEMBERS OF THE GWINNETT
 COUNTY BOARD OF
 REGISTRATION & ELECTIONS;
 AND MICHAEL COVENY,
 ANTHONY LEWIS, LEONA
 PERRY, SAMUEL TILLMAN, AND
 BAOKY VU, IN THEIR OFFICIAL
 CAPACITIES AS MEMBERS OF
 THE DEKALB COUNTY BOARD
 OF REGISTRATION & ELECTIONS,

                  DEFENDANTS.


   NOTICE OF FILING EMERGENCY MOTION FOR PRELIMINARY
     INJUNCTION AND REQUEST FOR EMERGENCY HEARING




KH510838.DOCX 2
       Pursuant to Fed. R. Civ. P. __, Plaintiffs in the above-captioned action

Democratic Party of Georgia, Inc. and AFG Group Inc hereby give notice to

Defendant Robyn A. Crittenden, in her official capacity as Secretary of State for

the State of Georgia (“Crittenden”), the five members of the Gwinnett County

Board of Registration and Elections, Stephen Day, John Mangano, Alice O’Lenick,

Ben Satterfield and Beauty Baldwin, in their official capacities (“Gwinnett”), and

the five members of the DeKalb County Board of Registration and Elections,

Michael Coveny, Anthony Lewis, Leona Perry, Samuel Tillman and Baoky Vu, in

their official capacities (“DeKalb”) (together “Defendants”) of Plaintiffs’ filing of

their Complaint for Declaratory and Injunctive Relief and Plaintiffs’ Emergency

Motion for Preliminary Injunction and of their request for an Emergency Hearing.

       Plaintiffs seek an emergency hearing on as soon as possible at a time and

place ordered by the United States District Judge assigned to this case.

Dated: November 12, 2018.                     Respectfully submitted,

                                              KREVOLIN & HORST, LLC

                                              /s/ Halsey G. Knapp, Jr.
                                              Halsey G. Knapp, Jr.
                                              Georgia Bar No. 425320
                                              Attorneys for AFG Group Inc d/b/a
                                              Stacey Abrams for Governor and the
                                              Democratic Party of Georgia, Inc.



KH510838.DOCX 2
One Atlantic Center, Suite 3250
1201 W. Peachtree Street., N.W.
Atlanta, Ga 30309
(404) 888-9700
(404) 888-9577
hknapp@khlawfirm.com




KH510838.DOCX 2
                      CERTIFICATE OF COMPLIANCE

       Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

       This 12th day of November 2018.

                                             /s/ Halsey G. Knapp, Jr.
                                             Halsey G. Knapp, Jr.
                                             Georgia Bar No. 425320
                                             Attorneys for AFG Group Inc d/b/a
                                             Stacey Abrams for Governor and the
                                             Democratic Party of Georgia, Inc.

One Atlantic Center, Suite 3250
1201 W. Peachtree Street., N.W.
Atlanta, Ga 30309
(404) 888-9700
(404) 888-9577
hknapp@khlawfirm.com




KH510838.DOCX 2
                          CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2018, a true and correct copy of the

foregoing was filed electronically and served upon all parties accepting service via

the Court’s electronic transmission facilitates, as well as by electronic mail to

known counsel for each Defendant, per verbal instructions provided by the Court

to counsel of record.

       This 12th day of November 2018.


                                               KREVOLIN & HORST, LLC

                                               /s/ Halsey G. Knapp, Jr.
                                               Halsey G. Knapp, Jr.
                                               Georgia Bar No. 425320
                                               Attorneys for AFG Group Inc d/b/a
                                               Stacey Abrams for Governor and the
                                               Democratic Party of Georgia, Inc.

One Atlantic Center, Suite 3250
1201 W. Peachtree Street., N.W.
Atlanta, Ga 30309
(404) 888-9700
(404) 888-9577
hknapp@khlawfirm.com




KH510838.DOCX 2
